Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 1 of 41 PageID# 41




               EXHIBIT
                  1
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 2 of 41 PageID# 42




 Pegasus – Product Description
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 3 of 41 PageID# 43
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 4 of 41 PageID# 44




         Contents
        Introduction ....................................................................................................................... 1
               Overcoming Smartphone Interception Challenge ................................................... 1
               Standard Interception Solutions Are Not Enough ................................................... 1
        Cyber Intelligence for the Mobile World ......................................................................... 3
               Benefits of Pegasus ................................................................................................ 3
               Technology Highlights ............................................................................................ 3
               High Level Architecture ........................................................................................... 4
        Agent Installation .............................................................................................................. 6
               Agent Purpose ........................................................................................................ 6
               Agent Installation Vectors ....................................................................................... 6
               Agent Installation Flow ............................................................................................ 7
               Supported Operating Systems & Devices .............................................................. 8
               Installation Failure ................................................................................................... 8
               Remote Installation Benefits ................................................................................... 9
        Data Collection ................................................................................................................ 10
               Initial Data Extraction ............................................................................................ 11
               Passive Monitoring................................................................................................ 11
               Active Collection ................................................................................................... 11
               Description of Collected Data ............................................................................... 12
               Collection Buffer ....................................................................................................15
        Data Transmission .......................................................................................................... 16
               Data Transmission Security .................................................................................. 17
               Pegasus Anonymizing Transmission Network ..................................................... 17
        Data Presentation & Analysis ........................................................................................ 18
               Rules & Alerts ......................................................................................................21
               Data Export ....................................................................................................... ..22
        Agent Maintenance ......................................................................................................... 23
               Agent Upgrade ...................................................................................................... 23
               Agent Settings .......................................................................................................23
               Agent Uninstall ...................................................................................................... 23
        Solution Architecture ......................................................................................................25
               Customer Site ......................................................................................................25
               Public Networks .................................................................................................... 26
               Target Devices ...................................................................................................... 27
        Solution Hardware .......................................................................................................... 28
               Operators Terminals ............................................................................................. 28
               System Hardware ................................................................................................. 28
        System Setup and Training ............................................................................................31
               System Prerequisites ............................................................................................ 31
               System Setup ......................................................................................................31
               Training ............................................................................................................. 31
               High Level Deployment Plan ................................................................................ 32
               System Acceptance Test (SAT) ............................................................................ 33
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 5 of 41 PageID# 45




        Maintenance, Support and Upgrades ........................................................................... 34
              Maintenance and Support ..................................................................................... 34
              Upgrades ............................................................................................................ 34
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 6 of 41 PageID# 46




         List of Tables
        Table 1: Collection Features Description .......................................................................... 12
        Table 2: Presentation of Collected Data ........................................................................... 20
        Table 3: Pegasus Deployment Plan ................................................................................. 32




         List of Figures
        Figure 1: Pegasus High Level Architecture ........................................................................ 5
        Figure 2: Agent Installation Flow ........................................................................................ 7
        Figure 3: Agent Installation Initiation ................................................................................... 8
        Figure 4: Collected Data ................................................................................................... 10
        Figure 5: Data Transmission Process ............................................................................... 16
        Figure 6: Data Transmission Scenarios ............................................................................ 16
        Figure 7: Calendar Monitoring .......................................................................................... 18
        Figure 8: Call Log & Call Interception ............................................................................... 19
        Figure 9: Location Tracking............................................................................................... 19
        Figure 10: Solution Architecture ....................................................................................... 25
        Figure 11: Pegasus Hardware .......................................................................................... 29
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 7 of 41 PageID# 47
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 8 of 41 PageID# 48




        Introduction
         Pegasus is a world-leading cyber intelligence solution that enables law enforcement and
         intelligence agencies to remotely and covertly extract valuable intelligence from virtually any
         mobile device. This breakthrough solution was developed by veterans of elite intelligence
         agencies to provide governments with a way to address the new communications interception
         challenges in today's highly dynamic cyber battlefield. By capturing new types of information
         from mobile devices, Pegasus bridges a substantial technology gap to deliver the most
         accurate and complete intelligence for your security operations.



         Overcoming Smartphone Interception Challenge
         The rapidly growing and highly dynamic mobile communications market - characterized by
         the introduction of new devices, operating systems and applications on virtually a daily basis
         – requires a rethinking of the traditional intelligence paradigm. These changes in the
         communications landscape pose real challenges and obstacles that must be overcome by
         intelligence organizations and law enforcement agencies worldwide:

               Encryption: Extensive use of encrypted devices and applications to convey
             messages
              Abundance of communication applications: Chaotic market of sophisticated
             applications, most of which are IP-based and use proprietary protocols
              Target outside interception domain: Targets' communications are often outside the
             organization's interception domain or otherwise inaccessible (e.g., targets are roaming,
             face-to-face meetings, use of private networks, etc.)
              Masking: Use of various virtual identities which are almost impossible to track and
             trace
              SIM replacement: Frequent replacement of SIM cards to avoid any kind of
             interception
              Data extraction: Most of the information is not sent over the network or shared with
             other parties and is only available on the end-user device
              Complex and expensive implementation: As communications become increasingly
             complex, more network interfaces are needed. Setting up these interfaces with service
             providers is a lengthy and expensive process, and requires regulation and
             standardization



         Standard Interception Solutions Are Not Enough
         Until the above mentioned challenges are addressed and resolved, criminal and terrorist
         targets are likely "safe" from standard and legacy interception systems, meaning that
         valuable intelligence is being lost. These standard solutions (described in the sections below)
         deliver only partial intelligence, leaving the organizations with substantial intelligence gaps.



         Passive Interception
         Passive interception requires very deep and tight relationships with local service providers
         (cellular, Internet and PSTN providers) and traditionally has allowed for proper monitoring of
         text messages and voice calls. However, most contemporary communications is comprised
         of IP-based traffic, which is extremely difficult to monitor with passive interception due to its
         use of encryption and proprietary protocols.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 9 of 41 PageID# 49




         Even when this traffic is intercepted, it typically carries massive amounts of technical data
         that is not related to the actual content and metadata being communicated. Not only does this
         result in frustrated analysts and wasted time wading through irrelevant data, it also provides a
         partial snapshot (at best) of the target's communications. In addition, the number of interfaces
         required to cover the relevant service providers broadens the circle of entities exposed to
         sensitive information and increases the chance of leakage.


         Tactical GSM Interception
         Tactical GSM interception solutions effectively monitor voice calls and text messages in GSM
         networks. When advanced cellular technologies are deployed (3G and LTE networks), these
         solutions become less efficient. In such cases, it is required to violently downgrade the target
         to a GSM-based network, which noticeably impacts the user experience and functionality.


         These solutions also require a well-trained field tactical team located near the monitored
         target. Thus, in the majority of cases where the target location is unknown, these solutions
         become irrelevant. In other cases, placing a tactical team close to the target may pose
         serious risk both to the team and to the entire intelligence operation.


         Malicious Software (Malware)
         Malware presumably provides access to the target's mobile device. However, it is not
         completely transparent and requires the target's involvement to be installed on their devices.
         This type of engagement usually takes the form of multiple confirmations and approvals
         before the malware is functional. Most targets are unlikely to be fooled into cooperating with
         malware due to their high level of sensitivity for privacy in their communications.

         In addition, such malware is likely to be vulnerable to most commercially available anti-virus
         and anti-spyware software. As such, they leave traces and are fairly easily detected on the
         device.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 10 of 41 PageID# 50




         Cyber Intelligence for the Mobile World
         Pegasus is a world-leading cyber intelligence solution that enables law enforcement and
         intelligence agencies to remotely and covertly extract valuable intelligence from virtually any
         mobile device. This breakthrough solution was developed by veterans of elite intelligence
         agencies to provide governments with a way to address the new communications interception
         challenges in today's highly dynamic cyber battlefield.

         By capturing new types of information from mobile devices, Pegasus bridges a substantial
         technology gap to deliver the most accurate and complete intelligence for your security
         operations. This solution is able to penetrate the market's most popular smartphones based
         on BlackBerry, Android, iOS and Symbian operating systems.

         Pegasus silently deploys invisible software ("agent") on the target device. This agent then
         extracts and securely transmits the collected data for analysis. Installation is performed
         remotely (over-the-air), does not require any action from or engagement with the target, and
         leaves no traces whatsoever on the device.



         Benefits of Pegasus
         Organizations that deploy Pegasus are able to overcome the challenges mentioned above to
         achieve unmatched mobile intelligence collection:

              Unlimited access to target's mobile devices: Remotely and covertly collect
             information about your target's relationships, location, phone calls, plans and
             activities – whenever and wherever they are
              Intercept calls: Transparently monitor voice and VoIP calls in real-time
              Bridge intelligence gaps: Collect unique and new types of information (e.g., contacts,
             files, environmental wiretap, passwords, etc.) to deliver the most accurate and complete
             intelligence
              Handle encrypted content and devices: Overcome encryption, SSL, proprietary
             protocols and any hurdle introduced by the complex communications world
              Application monitoring: Monitor a multitude of applications including Skype,
             WhatsApp, Viber, Facebook and Blackberry Messenger (BBM)
              Pinpoint targets: Track targets and get accurate positioning information using GPS
              Service provider independence: No cooperation with local Mobile Network Operators
             (MNO) is needed
              Discover virtual identities: Constantly monitor the device without worrying about
             frequent switching of virtual identities and replacement of SIM cards
              Avoid unnecessary risks: Eliminate the need for physical proximity to the target or
             device at any phase



         Technology Highlights
         The Pegasus solution utilizes cutting-edge technology specially developed by veterans of
         intelligence and law enforcement agencies. It offers a rich set of advanced features and
         sophisticated intelligence collection capabilities not available in standard interception
         solutions:

              Penetrates Android, BlackBerry, iOS and Symbian based devices
    Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 11 of 41 PageID# 51
          


                 
                  Extracts contacts, messages, emails, photos, files, locations, passwords, processes
                 list and more
                 Accesses password-protected devices
                 Totally transparent to the target
                 Leaves no trace on the device
                 Minimal battery, memory and data consumption
                 Self-destruct mechanism in case of exposure risk
                 Retrieves any file from the device for deeper analysis


             High Level Architecture
             The Pegasus system is designed in layers. Each layer has its own responsibility forming
             together a comprehensive cyber intelligence collection and analysis solution.

             The main layers and building blocks of the systems are:

                 Installations: The Installation layer is in charge of issuing new agent installations,
                upgrading and uninstalling existing agents.
                 Data Collection: The Data Collection layer is in charge of collecting the data from the
                installed device. Pegasus offers comprehensive and complete intelligence by employing
                four collection methods:
                     – Data Extraction: Extraction of the entire data that exists on the device upon
                     agent installation
                     – Passive Monitoring: Monitor new arrival data to the device
                     – Active Collection: Activate the camera, microphone, GPS and other elements to
                     collect real-time data
                     – Event-based Collection: Define scenarios that automatically triggers specific
                     data collection
                 Data Transmission: The Data Transmission layer is in charge of transmitting the
                collected data back to the command and control servers, using the most efficient and
                safe way.
                 Presentation & Analysis: The Presentation & Analysis component is a User Interface
                that is in charge of presenting the collected data to the operators and analysts, turning
                the data into actionable intelligence. This is done using the following modules:

                     – Real-Time Monitoring: Presents real-time collected data from specific or multiple
                     targets. This module is highly important when dealing with sensitive targets or during
                     operational activities, where each piece of information that arrives is crucial for
                     decision making.
                     – Offline Analysis: Advanced queries mechanism that allows the analysts to query
                     and retrieve any piece of information that was collected. The advanced mechanism
                     provides tools to find hidden connections and information.
                     – Geo-based Analysis: Presents the collected data on a map and conduct
                     geo-based queries.
                     – Rules & Alerts: Define rules that trigger alerts based on specific data that arrives or
                     event that occurred.
                 Administration: The administration component is in charge of managing the entire
                system permission, security and health:





Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 12 of 41 PageID# 52




                – Permission: The permissions mechanism allows the system administrator to
                manage the different users of the system. Provide each one of them the right
                access level only to the data they are allowed to. This allows to define groups in the
                organization that handle only one or more topics and other groups which handles
                different topics.
                – Security: The security module monitors the system security level, making sure
                the collected data is inserted to the system database clean and safe for future
                review.
                – Health: The health component of the Pegasus solution monitor the status of all
                components making sure everything is working smoothly. It monitors the
                communication between the different parts, the system performance, the storage
                availability and alerts if something is malfunction.
          The system layers and components are shown in Figure 1.


         Figure 1: Pegasus High Level Architecture
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 13 of 41 PageID# 53




             Agent Installation
             In order to start collecting data from your target’s smartphone, a software based component
             ("Agent") must be remotely and covertly installed on their device.



             Agent Purpose
             The “Agent”, a software based component, resides on the end point devices of the monitored
             targets and its purpose is to collect the data it was configured to. The agent is supported on
             the most popular operating systems: BlackBerry, Android, iOS (iPhone) and Symbian based
             devices.

             Each agent is independent and is configured to collect different information from the device
             and to transmit it via specific channels in defined timeframes. The data is sent back to the
             Pegasus servers in a hidden, compressed and encrypted manner.

             The agent continuously collects the information from the device and will transmit it once
             reliable internet connection becomes available.

             Communications encryption, the use of many applications and other communications
             concealing methods are no longer relevant when an agent is installed on the device.



             Agent Installation Vectors
             Injecting and installing an agent on the device is the most sensitive and important phase of
             intelligence operation conducted on the target device. Each installation has to be carefully
             planned to ensure it is successful. The Pegasus system supports various installation
             methods. The installation methods variety answers the different operational scenarios which
             are unique to each customer, resulting in the most comprehensive and flexible solution.
             Following are the supported installation vectors:


             Remote Installation (range free):
                Over-the-Air (OTA): A push message is remotely and covertly sent to the mobile
                    device. This message triggers the device to download and install the agent on the
                    device. During the entire installation process no cooperation or engagement of the target
                    is required (e.g., clicking a link, opening a message) and no indication appears on the
                    device. The installation is totally silent and invisible and cannot be prevented by the
                    target. This is NSO uniqueness, which significantly differentiates the Pegasus solution
                    from any other solution available in the market.

                     Enhanced Social Engineering Message (ESEM): In cases where OTA installation
                    method is inapplicable1, the system operator can choose to send a regular text message
                    (SMS) or an email, luring the target to open it. Single click, either planned or
                    unintentional, on the link will result in hidden agent installation. The installation is entirely
                    concealed and although the target clicked the link they will not be aware that software is
                    being installed on their device.

                    The chances that the target will click the link are totally dependent on the level of




      1 e.g., some devices do not support it; some service providers block push messages; target phone number in unknown.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 14 of 41 PageID# 54




                 content credibility. The Pegasus solution provides a wide range of tools to compose
                 a tailored and innocent message to lure the target to open the message.

         NOTE: Both OTA and ESEM methods require only a phone number or an email address that
         is used by the target. Nothing else is needed in order to accomplish a successful installation
         of the Pegasus agent on the device.


         Close to the target (range limited):
             Tactical Network Element: The Pegasus agent can be silently injected once the
             number is acquired using tactical network element such as Base Transceiver Station
             (BTS). The Pegasus solution leverages the capabilities of such tactical tools to perform a
             remote injection and installation of the agent. Taking a position in the area of the target
             is, in most cases, sufficient to accomplish the phone number acquisition. Once the
             number is available, the installation is done remotely.
              Physical: When physical access to the device is an option, the Pegasus agent can be
             manually injected and installed in less than five minutes. After agent installation, data
             extraction and future data monitoring is done remotely, providing the same features of
             any other installation method.

         NOTE: Tactical and Physical installations are usually used where no target phone number or
         email address are available.




         Agent Installation Flow
         Remote agent installation flow is shown in Figure 2.


         Figure 2: Agent Installation Flow




         In order to initiate a new installation, the operator of the Pegasus system should only insert
         the target phone number. The rest is done automatically by the system, resulting in most
         cases with an agent installed on the target device.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 15 of 41 PageID# 55




         Agent installation initiation is shown in Figure 3.

         Figure 3: Agent Installation Initiation




         Supported Operating Systems & Devices




         NOTE: Android-based devices are often added to the supported list. An updated list can be
         sent upon customer request.


         Installation Failure
         The installation can sometimes fail due to following reasons:

             1. Unsupported device: the target device is not supported by the system (which appears
             above).

             2. Unsupported OS: the operating system of the target device is not supported by the
             system.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 16 of 41 PageID# 56




              3. Unsupported browser: the default browser of the device was previously replaced by
              the target. Installation from browsers other than the device default (and also Chrome for
              Android based devices) is not supported by the system.
         In any of the above mentioned cases, if the operator initiates a remote installation to a
         non-supported device, operating system or browser, the injection will fail and the installation
         will be aborted. In these cases the process is finished with an open browser on the target
         device pointing and showing the URL page which was defined by the operator prior the
         installation.
         The device, OS and browser are identified by the system using their HTTP user agent. If by
         any reason the user agent was manipulated by the target, the system might fail to correctly
         identify the device and OS and provide the wrong installation payload. In such case, the
         injection will fail and the installation will be aborted, showing again the above mentioned URL
         page.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 17 of 41 PageID# 57




         Data Collection
         Upon successful agent installation, a wide range of data is monitored and collected from the
         device:

              Textual: Textual information includes text messages (SMS), Emails, calendar
             records, call history, instant messaging, contacts list, browsing history and more.
             Textual information is usually structured and small in size, therefore easier to
             transmit and analyze.
              Audio: Audio information includes intercepted calls, environmental sounds
             (microphone recording) and other audio recorded files.
              Visual: Visual information includes camera snapshots, photos retrieval and screen
             capture.
              Files: Each mobile device contains hundreds of files, some bear invaluable
             intelligence, such as databases, documents, videos and more.
              Location: On-going monitoring of the device location (Cell-ID and GPS).
          The variety of data that is collected by the Pegasus system is shown in Figure
         4.

         Figure 4: Collected Data




         The data collection is divided into three levels:

              Initial data extraction
              Passive monitoring
              Active collection
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 18 of 41 PageID# 58




         Initial Data Extraction
         Once the agent is successfully injected and installed on the device, the following data that
         resides and exists on the device can be extracted and sent to the command and control
         center:

              SMS records
              Contacts details
              Call history (call log)
              Calendar records
              Emails
              Instant Messaging
              Browsing history
         As opposed to other intelligence collection solutions which provide only future monitoring of
         partial communications, Pegasus allows the extraction of all existing data on the device. As a
         result the organization benefits from accessing historical data about the target, which assists
         in building a comprehensive and accurate intelligence picture.


         NOTE: Initial data extraction is an option and not a must. If the organization is not allowed to
         access historical data of the target, such option can be disabled and only new arrival data will be
         monitored by the agent.


         Passive Monitoring
         From the point the agent was successfully installed it keeps monitoring the device and
         retrieves any new record that becomes available in real-time (or at specific condition if
         configured differently). Below is the full list of data that is monitored by the agent:

              SMS records
              Contacts details
              Call history (call log)
              Calendar records
              Emails
              Instant Messaging
              Browsing history
              Location tracking (Cell-ID based)


         Active Collection
         In addition to passive monitoring, upon successful agent installation a wide set of active
         collection features becomes available. Active collection refers to active requests sent by the
         operator to collect specific information from the installed device. These set of features are
         called active, as they carry their collection upon explicit request of the operator. Active
         collection allows the operator to perform real-time actions on the target device, retrieving
         unique information from the device and from the surrounding area of the target, including:

              Location tracking (GPS based)
    Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 19 of 41 PageID# 59
          

          

                  
                   Voice calls interception
                   File retrieval
                   Environmental sound recording (microphone recording)
                   Photo taking
                   Screen capturing
              Active collection differentiates Pegasus from any other intelligence collection solution, as the
              operator controls the information that is collected. Instead of just waiting for information to
              arrive, hoping this is the information you were looking for, the operator actively retrieves
              important information from the device, getting the exact information he was looking for.



              Description of Collected Data
              The different types of data available for extraction, passive monitoring and active collection
              with their respective features are listed in Table 1.

              Table 1: Collection Features Description





Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 20 of 41 PageID# 60




       2 For active collection features, initial data is not extracted before a request is initiated by the user.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 21 of 41 PageID# 61




         The above mentioned data is the potential data that could be collected by an agent. The
         agent will collect the data that is applicable and available on the device. If one or more of the
         above mentioned applications does not exist and/or removed from the device, the agent will
         operate in the same manner. It will collect the data from the rest of the services and
         applications which are in use in the device. Also, all the collected data from the removed
         application will still be saved on the servers or at the agent, if it was not yet transmitted back
         to the servers.

         In addition, the above mentioned data that is collected by the agent covers the most popular
         applications used worldwide. Since applications popularity differs from country to country, we
         understands that data extraction and monitoring of other applications will be required as time
         evolves and new applications are adopted by targets. When such requirement is raised, we
         can fairly easily extract the important data from virtually any application upon customer
         demand and release it as a new release that will become available to the customer.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 22 of 41 PageID# 62




          Collection Buffer
          The installed agent monitors the data from the device and transmits it to the servers. If
          transmission is not possible3 the agent will collect the new available information and transmits
          it when connection will become available. The collected data is stored in a hidden and
          encrypted buffer. This buffer is set to reach no more than 5% of the free space available on
          the device. For example – if the monitored device has 1GB of free space, the buffer can store
          up to 50MB. In case the buffer has reached its limit, the oldest data is deleted and new data
          is stored (FIFO). Once the data has been transmitted, the buffer content is totally deleted.
          .




      3 No data channels are available; Device is roaming; Device is shut down.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 23 of 41 PageID# 63




         Data Transmission
         By default, the collected data (initial data extraction, passive monitoring and active collection)
         is sent back to the command and control center in real-time. The data is sent via data
         channels, where Wi-Fi is the preferred connection to use when it is available. In other cases
         data is transmitted via cellular data channels (GPRS, 3G and LTE). Extra thought was put
         into compression methods and focusing on textual content transmission whenever possible.
         The data footprints are very small and usually take only few hundred bytes. This is to make
         sure that the collected data is easily transmitted, ensuring minimal impact on the device and
         on the target cellular data plan.

         If data channels are not available, the agent will collect the information from the device and
         store it in a dedicated buffer, as explained in Data Collection section.

         Data transmission is automatically ceased in the following scenarios:

              Low battery: When the device battery level is below the defined threshold (5%) all
             data transmission processes are immediately ceased until the device is recharged.
              Roaming device: When the device is roaming, cellular data channels become pricy,
             thus data transmission is done only via Wi-Fi. If Wi-Fi does not exist, transmission will
             be ceased.
         When no data channels are available, and no indication for communication is coming back
         from the device, the user can request the device will communicate and/or send some crucial
         data using text messages (SMS).


         CAUTION: Communication and/or data transmission via SMS may incur costs by the target
         and appear in his billing report thus should be used sparingly.
         The communication between the agent and the central servers is indirect (through
         anonymizing network), so trace back to the origin is non-feasible.
         The Pegasus system data transmission process is shown in Figure 5.

         Figure 5: Data Transmission Process




         The channels and scenarios for transmitting the collected data are shown in Figure 6.

         Figure 6: Data Transmission Scenarios
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 24 of 41 PageID# 64




         Data Transmission Security
         All connections between the agents and the servers are encrypted with strong algorithms and
         are mutually authenticated. While data encryption is probably the most urging issue, extra
         care was given to ensure minimal data, battery and memory are consumed within the agents
         requirements. This is meant to make sure that no concerns are raised by the target.

         Detecting an operating agent by the target is almost impossible. The Pegasus agent is
         installed at the kernel level of the device, well concealed and is untraceable by antivirus and
         antispy software.

         The transmitted data is encrypted with symmetric encryption AES 128-bit.



         Pegasus Anonymizing Transmission Network
         Agent transparency and source security are the guiding principles of the Pegasus solution.
         To assure that trace back to the operating organization is impossible, the Pegasus
         Anonymizing Transmission Network (PATN), a network of anonymizers is deployed to serve
         each customer. The PATN nodes are spread in different locations around the world, allowing
         agent connections to be redirected through different paths prior to reaching the Pegasus
         servers. This ensures that the identities of both communicating parties are highly obscured.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 25 of 41 PageID# 65




         Data Presentation & Analysis
         Successful data collection from hundreds of targets and devices generates massive amounts
         of data for visualization, presentation and analysis. The system provides a set of operational
         tools to help the organization to transform data into actionable intelligence. This is to view,
         sort, filter, query and analyze the collected data. The tools include:

              Geographical analysis: Track target's real-time and historical location, view several
             targets on map
              Rules and alerts: Define rules to generate alerts upon important data arrival
              Favorites: Mark important and favorite events for subsequent review and deeper
             analysis
              Intelligence dashboard: View highlights and statistics of target's activities
              Entity management: Manage targets by groups of interest (e.g., drugs, terror, serious
             crime, location, etc.)
              Timeline analysis: Review and analyze collected data from a particular time frame
              Advanced search: Conduct search for terms, names, code words and numbers to
             retrieve specific information
         The collected data is organized by groups of interest (e.g., drugs group A, terror group B,
         etc.) and each group consists of targets. Each target consists of several devices which some
         have installed agents on them.

         The collected data is displayed in an easy-to-use intuitive user interface and when applicable
         emulates popular display of common applications. The intuitive user interface is designed for
         a day-to-day work. Operators can easily customize the system to fit their preferred working
         methods, define rules and alerts for specific topics of interest.

         The operator can choose to view the entire collected data from specific target or only specific
         type of information such as location information, calendar record, emails or instant messages.


         Pegasus calendar monitoring screen is shown in Figure 7.

         Figure 7: Calendar Monitoring
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 26 of 41 PageID# 66




         Pegasus call log and call interception screen is shown in Figure 8.

         Figure 8: Call Log & Call Interception




         Pegasus location tracking screen is shown in Figure 9.

         Figure 9: Location Tracking
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 27 of 41 PageID# 67




         The presentation fields of the collected data are listed in Table 2.

         Table 2: Presentation of Collected Data
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 28 of 41 PageID# 68




         Rules & Alerts
         The Rules & Alerts module in the system alerts when important event takes place. Rules
         must be defined in advance and they help the operators to review and take actions in
         real-time, for example:

             Geo-fencing:
                   o Access hot zone - Alert when target reached an important location
                   o Leave hot zone - Alert when target left a certain location
                Geo-fence alerts are based on a perimeter around a certain location, where the
                operator defines the size of the perimeter.
             Meeting detection: Alert when two targets meet (share the same location)

   Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 29 of 41 PageID# 69

                                                                                            




                 
                  Connection detection:

                        o Alert when a message is sent from/to a specific number
                        o Alert when a phone call is performed from/to a specific number
                 Content detection: Alert when a defined word/term/code word is used in a message




             Data Export
            The system is designed as an end-to-end system, providing its users with collection and
            analysis tools. However, we understands that there are advanced analysis capabilities and
             data fusion requirements from other sources, therefore the system allows the exporting of the
            collected information and seamless integration with 3rd party backend or analysis systems
            available.















































Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 30 of 41 PageID# 70




         Agent Maintenance
         Once agent is installed on a certain device, it has to be maintained in order to support new
         features and change its settings and configurations or to be uninstalled when it is no longer
         providing valuable intelligence to the organization.



         Agent Upgrade
         When agents' updates are released they become available to install. These new agents are
         now ready for installation on new targets' devices or as upgrades for existing agents installed
         on target's devices. These updates provide new functionalities, bug fixing, support for new
         services or improve the agents overall behavior. Such updates are crucial to keep the agent
         functional and operational in the endless progress of the communication world and especially
         the smartphone arena.

         There are two types of agent upgrades:

              Optional upgrade: agent upgrade is not mandatory by the system. The user decides
             when, if at all, to upgrade the agent.
              Mandatory upgrade: agent upgrade is mandatory by the system. The supervisor
             must upgrade the agent otherwise no new information will be monitored from the
             device.
         Upgrade sometimes requires an installation of a new agent and sometimes just a small
         update of the existing agent. In both cases the user is the only one to decide when to conduct
         the upgrade, and therefore should plan this accordingly.

         Once the command for upgrade was sent by the user, the process should take only few
         minutes. The process might take longer if the device is turned off or has bad data connection.
         In either case, the upgrade will be accomplished once a decent data connection becomes
         available.



         Agent Settings
         Agent settings are set for the first time during its installation. From this point, these settings
         serve the agent, but can always be changed if required. The settings include the IP address
         for transmitting the collected data, the way commands are sent to the agent, the time until the
         agent is automatically uninstall itself (see self-destruct mechanism for more details) and
         more.



         Agent Uninstall
         When the intelligence operation is done or in case where the target is no longer with interest
         to the organization, the software based component ("Agent") on the target's device can be
         removed and uninstalled. Uninstall is quick, requires a single user request and has no to
         minimal effect on the target device. The user issues a request for agent uninstall which is
         sent to the device.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 31 of 41 PageID# 71




           Once agent is uninstalled from a certain device it leaves no traces whatsoever or indications
           it was ever existed there4. As long as the agent is operational on the device and a connection
           exists between him and the servers it can be easily and remotely uninstalled.
           .

           Uninstall can always be done remotely no matter what was the method used for installation.
           Physical uninstall is also an option, if needed.

           Uninstalling an agent does not mean losing the entire collected data – the entire data that
           was collected during the time that the agent was installed on the device will be kept in the
           servers for future analysis.


           Self-Destruct Mechanism
           The Pegasus system contains self-destruct mechanism for the installed agents. In general,
           we understand that it is more important that the source will not be exposed and the target will
           suspect nothing than keeping the agent alive and working. The mechanism is activated in the
           following scenarios:


                 Risk of exposure: In cases where a great probability of exposing the agent exists, a
               self-destruct mechanism is automatically being activated and the agent is uninstalled.
               Agent can be once again installed at a later time.
                Agent is not responding: In cases where the agent is not responding and did not
               communicate with the servers for a long time5, the agent will automatically uninstall
               itself to prevent being exposed or misused.




       4 In some cases, uninstall can result in device reboot. If reboot takes place, it happens once agent removal is done. The
       device comes up clean with no agent installed.
       5 The default time is 60 days, but can be reconfigured for any period of time required
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 32 of 41 PageID# 72




         Solution Architecture
         The Pegasus system’s major architectural components are shown in Figure 10.

         Figure 10: Solution Architecture




         Customer Site
         NSO is responsible to deploy and configure the Pegasus hardware and software at the
         customer premises, making sure the system is working and functioning properly. Below are
         the main components installed at the customer site:


         WEB Servers
         Residing at the customer's premises, the servers are responsible for the following:

              Agent installation and monitoring
              Agent maintenance: Remotely control, configure and upgrade installed agents
              Data transmission: Receive the collected data transmitted from the installed agents
              Serve the operators' terminals

         Communications Module
         The communications module allows interconnectivity and internet connection to the servers.


         Cellular Communication Module
         The cellular communication module enables remote installation of the Pegasus agent to the
         target device using cellular modems and/or SMS gateways.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 33 of 41 PageID# 73




         Permission Module
         The Pegasus permission management module defines and controls the features and
         available content allowed for each user based on their role, rank and hierarchy.


         Data Storage
         The collected data that was extracted and monitored by the agents is stored on an external
         storage device. The data is well backed-up and with full resiliency and redundancy to prevent
         failures and downtime.


         Servers Security
         All the servers reside inside the customer's trusted network, behind any security measures it
         may deploy as well as security measures that we supply specifically for the system.


         Hardware
         The system standard hardware is deployed on several servers connected together on couple
         of racks. The equipment takes care of advanced load balancing, content compression,
         connection management, encryption, advanced routing, and highly configurable server health
         monitoring.


         Operator Consoles
         The operator's end-point terminals (PC) are the main tool which the operators activate the
         Pegasus system, initiate installations and commands, and view the collected data.


         Pegasus Application
         The Pegasus application is the user interface that is installed on the operator terminal. It
         provides the operators with range of tools to view, sort, filter, manage and alert to analyze the
         large amount of data collected from the targets' agents.



         Public Networks
         Apart from local hardware and software installation at the customer premises, the Pegasus
         system does not require any physical interface with the local mobile network operators.
         However, since agent installations and data are transferred over the public networks, we
         makes sure it is transferred in the most efficient and secured way, all the way back to the
         customer servers:


         Anonymizing Network
         Pegasus Anonymizing Transmission Network (PATN) is built from anonymizing connectivity
         nodes which are spread in different locations around the world, allowing agent connections to
         be directed through different paths prior to reaching the Pegasus servers. The anonymized
         nodes serve only one customer and can be set up by the customer if required.

         See more information in Pegasus Anonymizing Transmission Network section.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 34 of 41 PageID# 74




         Target Devices
         The above mentioned architecture allows the operators to issue new installations, extract,
         monitor and actively collect data from targets’ devices. See more details in Supported
         Operating Systems & Devices.


         NOTE: The Pegasus is an intelligence mission-critical system, therefore it is fully redundant
         to avoid malfunctions and failures. The system handles large amounts of data and traffic 24
         hours a day and is scalable to support customer growth and future requirements.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 35 of 41 PageID# 75




         Solution Hardware
         The hardware specifications for operating the Pegasus system depends on the number of
         concurrent installed agents, the number of working stations, the amount of data stored and
         for how long should it be stored.

         All the necessary hardware is supplied with the system upon deployment and may require
         local customization that has to be handled by the customer based on we directions. If
         required, hardware can be purchased by the customer based on the specifications provided
         by we.



         Operators Terminals
         The operator terminals are standard desktop PCs, with the following specifications:

              Processor: Core i5
              Memory: 3GB RAM
              Hard Drive: 320GB
              Operating System: Windows 7


         System Hardware
         To fully support the system infrastructure, the following hardware is required:

              Two units of 42U cabinet
              Networking hardware
              10TB of storage
              5 standard servers
              UPS
              Cellular modems and SIM cards
          The system hardware scheme is shown in Figure 11.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 36 of 41 PageID# 76




         Figure 11: Pegasus Hardware
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 37 of 41 PageID# 77
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 38 of 41 PageID# 78




         System Setup and Training
         We are responsible for the system setup and training before its hand-over to the customer.



         System Prerequisites
         Successful installation of the Pegasus system requires the following preparations of the
         servers' room:

              Sufficient room to contain two 42U racks cabinet, 5x5x2.5m (LxWxH)
              Air conditioned (18°C) room
              Access restriction
              Routing from end-point terminals to servers room
              Reliable cellular network reception (at least -95 dBm)
              2 x Electrical outlets (20A) per rack
              2 x Symmetric ATM lines from different ISP's. Each line with a bandwidth of 10MB
             containing 8 external static IP addresses:
                      o ISP #1: Fiber optic-based network
                      o ISP #2: Ethernet category-7 cable-based network
                 The mission-critical system requires two parallel networks to ensure system
                 resilience and downtime is kept to an absolute minimum.

              2 x E1 PRI connections, each contains 10 extensions (two different service providers is
             recommended)
              2 x anonymous SIM cards for each local Mobile Network Operator
              3rd party services registration as required


         System Setup
              The solution will be deployed at the customer site by we personnel
              Deployment duration usually requires 10-15 working weeks
              Operating environment prerequisites must be met
              System setup includes hardware and software installation, and in addition integration
             to local environment and systems
              Support and adaptations to the different local device firmware versions


         Training
         Upon system installation, we personnel will conduct full training sessions. Training can take
         place onsite or in any other location required by the customer, including we headquarters.
         Training session includes the following:

              Basic system usage
              System architecture
              Advanced system usage and roles
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 39 of 41 PageID# 79
      

      

               
                Real-world simulation exercises
          The recommended number of attendees is with respect to the number of installed operator
          consoles.



          High Level Deployment Plan
          The process of adapting, installing and testing the system in a new customer site in listed in
          Table 3.

          Table 3: Pegasus Deployment Plan




          Phase 1 – Preparations:
                Requirements for an Acceptance Test Procedure (ATP) are defined together with the
               customer
                Hardware and software acquisition and customization to answer customer
               requirements and needs
                When required, the Pegasus system is integrated with local infrastructures and
               systems
                System adaptations to the local mobile networks

          Phase 2 – Implementation:
             System testing
             Hardware installation
             System adaptations to local device firmware versions
           
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 40 of 41 PageID# 80




         Phase 3 – Training and Completion:
            Detailed system training, real-life scenarios practicing and simulation
            Customer ATP as defined during phase 1


         System Acceptance Test (SAT)
         We have gained substantial experience in installing and implementing the Pegasus system.
         The following acceptance test plan verifies that the system works as required and validates
         that the correct functionality has been delivered. It describes the scope of the work to be
         performed and the approach taken to execute the proper tests to validate that the system
         functions as mutually agreed with the customer.

         The tests are divided into 3 stages:

                Functionality tests
                Network and providers tests
                Customer tailor specific tests
         An official system hand-over from we to the customer is done once the system has been
         deployed, tested and demonstrated.
Case 1:23-cv-00779-LMB-LRV Document 1-1 Filed 06/15/23 Page 41 of 41 PageID# 81




         Maintenance, Support and Upgrades
         We provides, as default, one year of maintenance, support and upgrades services. These
         services include:



         Maintenance and Support
         We provides maintenance services and three-tier level support that includes:

              Tier-1: Standard system operations problems
                     o Email and phone support
              Tier-2: Proactive resolving of technical problems
                     o Dedicated engineers will inspect, examine and resolve common technical
                     issues, putting their best efforts
                     o Remote assistance using remote desktop software and a Virtual Private
                     Network (VPN) where requested
              Tier-3: Bug fixing and system updates of substantial system malfunctions
              Phone support: In addition to the above mentioned, we provide phone and email
             support to any question and problem that is raised.
         In addition, the customer will be able to add the following support:

              Planned or emergency onsite assistance
              Health monitoring system


         Upgrades
         We have releases major upgrades to the Pegasus system few times a year. Such upgrades
         usually include:

              New features
              New devices/operating system support
              Tailored features based on customer requirements
              Bugs fix
